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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF OKLAHOMA

 HAROLD PRICE et al.,

                          Plaintiffs,

 v.                                                    Case No. 23-CV-419-JFH-DES

 LAFAVER FIBERGLASS CORP. et al.,

                          Defendants.

                                           ORDER

       Before the Court is the Report and Recommendation of United States Magistrate Judge D.

Edward Snow. Dkt. No. 15. The Magistrate Judge recommends that the Motion to Dismiss filed

by Defendants LaFavor Fiberglass Corporation and Bobby Joe LaFaver (“Defendants”) [Dkt. No.

14] be granted.

       No party objected to the Magistrate Judge’s Report and Recommendation within the

fourteen-day period prescribed by 28 U.S.C. § 636(b) and Federal Rule of Civil Procedure 72(b).

Having reviewed the Report and Recommendation, the Court concurs with the Magistrate Judge’s

recommendation and accepts and adopts it as the order of this Court. On that basis, Defendants’

Motion to Dismiss [Dkt. No. 14] is GRANTED. Plaintiffs’ claims are hereby DISMISSED

without prejudice.

       IT IS SO ORDERED this 4th day of December 2024.




                                                   JOHN F. HEIL, III
                                                   UNITED STATES DISTRICT JUDGE
